                     Case: 1:22-mj-00005-SKB Doc #: 1 Filed: 01/05/22 Page: 1 of 5 PAGEID #: 1
AO 106 (Rl!v. 04/10) Application for a Search Warrant



                                             UNITED STATES DISTRJCT COURT
                                                                                for the
                                                                       Southern District of Ohio

                In the Matter of the Search of                                    )
           (BriefzF describe the proper()! to be searched
                                                                                  )
            or identify the person by name and address)
                                                                                  )          Case No. 1:22-MJ-00005
Priority Mail Express parcel label uulllber EJ837616676US, postmarked January     )
 3, 2022, weighing 2 pounds 3.4 ounces, addressed Madison T Bobrow, 17192         )
Murphy Ave, PO Box #143-10, Irvine, CA 92623 with a return address of Bright
               Ideas Co, 481.ndiana Ave, Fort Thomas, KY 41075                    )

                                                    APPLICATION FOR A SEARCH WARR<\NT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state tmder
penalty of petjury that I have reason to believe that on the following person or property (ide ntify the person or describe the
property to be searched and give its location):
Priority Mail Express parcel label number EJ837616676US

located in the                   Southern                District of                  Ohio                 , there is now concealed (identifj: the
                                                                          - - - - - - - - --       ---
person or describe the property to be seized):
Controlled Substances, materials and documents reflecting the distribution of controlled substances
through the U.S. Mails, including money and/or monetary instruments paid for controlled substances

           The basis for the search under Fed, R, Crim. P. 41 (c) is (check one or more):
                cg] evidence of a crime;
                   cg] contraband, fruits of crime, or other items illegally possessed;
                   D     prope1iy designed for use, intended for use, or used in committing a crime;
                   D     a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of: Title 21
           Code Section                                                                  Offense Description
841 (a) ( 1), 843 (b) & 846                             Conspiracy to distribute a controlled substance
                                                        Possession with intent to distribute a controlled substance

           The application is based on these facts:
See attached at1iclavit of U.S. Postal Inspector O'Neill

            cg] Continued on the attached sheet.
            D      Delayed notice         days (give exact ending date if more than 30 days: - - - - - - ) is requested
                   under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                                          Applicant's signature

                                                                                             Karen L. O'Neill, U.S. Postal Inspector
                                                                                                          Printed name and title

S\.vorn to before me and signed in my presence. via electronic means, speci cally Facetime video.

                     Jan 5, 2022
Date:
                                                                                                            Judge 's signature

                                                                                                   Honorable Stephanie K. Bowman
City and state: Cincinnati, Ohio
                                                                                                    United States Magistrate Judge
                                                                                                          Prinied name and title
                            fi
       Case: 1:22-mj-00005-SKB Doc #: 1 Filed: 01/05/22 Page: 2 of 5 PAGEID #: 2


                            AFFIDAVIT IN SUPPORT OF SEARCH WARRANT



I, KAREN O'NEILL, HAVING BEEN DULY SWORN, DEPOSE AND STATE: I am a United States Postal

Inspector, having been so employed since March 2003.

1.      I am presently assigned to the Cincinnati Field Office, Pittsburgh Division of the Postal Inspection

Service with investigative responsibility for Southwest Ohio, Northern Kentucky, and Southeast Indiana.

Part of my investigative responsibility involves the use of the Un ited States Mail in the transporting of

narcotics and other dangerous controlled substances and financial proceeds relating thereto.

2.      Your affiant has become aware that drug traffickers frequently use Express Mail, a business-

oriented overnight service offered by the United States Postal Service, to transport narcotics and other

dangerous controlled substances, and their proceeds or instrumentalities from the sale of the controlled

substances. Your affiant has also become aware that drug traffickers frequently use Priority Mail with

delivery confirmation, a 2-3 day service offered by the United States Postal Service.        As a result of

investigations and successful controlled substance prosecutions where the mail was used, your affiant

has learned of certain characteristics indicative of other mail items previously identified as containing

narcotics or other dangerous controlled substances, their proceeds or instrumentalities from the sale of

the controlled substances. Some of these characteristics include, but are not necessarily limited to or

used on every occasion, the mailer using different post offices on the same day to send parcels, false or

non-existent return address, addressee is not known to receive mail at the listed delivery or sender

address, the package is heavily taped, the package is mailed from a known drug source location, labeling

information contains misspellings, unusual odors emanating from the package, and the listed address is

located in an area of known or suspected drug activity .

3.      U.S. Postal Inspectors are aware that the State of California is a source location for controlled

substances that are regularly mailed to the Commonwealth of Kentucky and the proceeds from the sales

of controlled substances are frequently returned to California via the U.S. Mail. Based on this information,

your affiant routinely reviews parcels and conducts postal database checks for inbound and outbound

parcels that exhibit characteristics of parcels suspected of containing controlled substances and/or the

proceeds from the sale of controlled substances.
         Case: 1:22-mj-00005-SKB Doc #: 1 Filed: 01/05/22 Page: 3 of 5 PAGEID #: 3


4.       On or about January 3, 2022, your affiant was reviewing outbound parcels in a postal database

and identified Priority Mail Express parcel label number EJ837616676US (SUBJECT PARCEL)

addressed to 17192 Murphy Ave Unit 14340, Irvine, CA 92623. The parcel was mailed from the Newport

Post Office, Newport, Kentucky at approximately 11: 13 a. m. and had already departed their location for

the Postal Processing & Distribution Center (P&DC), Cincinnati, Ohio.

5.       Your affiant did a check in Google for the addressee address 17192 Murphy Ave, Irvine, CA

92623. According to Google, a U.S. Post Office is located at the address.

6.       Your affiant contacted the Cincinnati P&DC regarding the SUBJECT PARCEL. Your affiant

learned the parcel is addressed to Madison T Bobrow, 17192 Murphy Ave, PO Box #14340, Irvine, CA

92623 with a return address of Bright Ideas Co, 48 Indiana Ave, Fort Thomas, KY 41075. Your affiant

requested the SUBJECT PARCEL be placed in a secure location for further investigation.

7.       Your affiant did a check in CLEAR regarding the return address. CLEAR is a database that is

used by law enforcement as a tool to identify person/business and address information . According to

CLEAR, the business name "Bright Ideas Co" is not associated with 48 Indiana Ave, Fort Thomas, KY

41075.

8.       Your affiant did a check in Google regarding "Bright Ideas Co" and was unable to locate a

business with that name in Fort Thomas, Kentucky.        Upon further investigation, your affiant found 48

Indiana Ave, Fort Thomas, KY 41075, a single family residence, on multiple realtor sites currently for sale.

9.       Your affiant located PO Box #14340, Irvine, CA 92623 in the USPIS database related to a seizure

of a parcel mailed from Dayton, Ohio in September 202 1 addressed to Madison T Bobrow. The parcel

was found to contain $6,600 .00 in U.S. currency and was seized by the government.

10.      On or about January 4, 2022, your affiant obtained the SUBJECT PARCEL from the Cincinnati

P&DC.

11.       Your affiant contacted Cincinnati Police Department Specialist Mike Harper to arrange for a

narcotic canine to check the SUBJECT PARCEL. Specialist Harper responded to the Loveland Post

Office, Loveland, Ohio where the parcel was placed in a controlled area and presented to narcotic canine,

"Cairo". ''Cairo" alerted positively to the presence or odor of a controlled substance or their proceeds or

instrumentalities upon the SUBJECT PARCEL. Your affiant knows that Specialist Harper and narcotic

canine "Cairo" train regularly and are certified annually through the Ohio Peace Officer Training Academy.


                                                     2
        Case: 1:22-mj-00005-SKB Doc #: 1 Filed: 01/05/22 Page: 4 of 5 PAGEID #: 4


Your affiant has presented countless parcels to Specialist Harper and canine "Cairo" which has resulted

in successful seizures of a quantity of a narcotic or other dangerous controlled su bstance and their

proceeds or instrume ntalities therefore your affiant considers them to be reliable. Attached herewith, and

made part hereof by reference, is a photocopy of the narcotic canine handler's record of examination.

12.      The SUBJECT PARCEL is further identified as follows: a U.S. Postal Service Priority Mail

Express cardboard box approximately 12" x 3.5" x 14" in size, weighing 2 pounds 3.4 ounces, bearing

label number EJ837616676US, postmarked January 3, 2022; see address information below:

                                             Sender:     Bright Ideas Co
                                                         48 Indiana Ave
                                                         Fort Thomas, KY 41075

                                         Addressee:      Madison T Bobrow
                                                         17192 Murphy Ave
                                                         PO Box #14340
                                                         Irvine, CA 92623

13.     This information along with the positive alert of narcotic canine "Cairo" is indicative of a drug

parcel or its proceeds.

14.      Based on the information contained herein, your affiant believes that contained in the SUBECT

PARCEL is a quantity of a narcotic or other dangerous controlled substance, their proceeds or

instrumentalities.

15.     The SUBJECT PARCEL is being secured at the USPIS Field Office, Cincinnati, Ohio pending

further investigation.

Therefore, a search warrant to open the SUBJECT PARCEL is requested.

Further, your affiant sayeth naught.




Karen O'Neill
Postal Inspector


                                            5th day of _ _January
Subscribed and sworn to and before me this __             _ _ _ _ , 2022.
via electronic means, speci cally Facetime video.




Honorable Stephanie K. Bowman
United States Magistrate Judge


                                                    3
             fi
                                   Case: 1:22-mj-00005-SKB Doc #: 1 Filed: 01/05/22 Page: 5 of 5 PAGEID #: 5


                  United States Postal Inspection Service
                  Pittsburgh Divisio n




                                                                    OFFICER AFFIDAVIT


      I,         fv\dlt Kwr:pv1                              I   am and have been employed by the Cincinnati Police

      Department since                  Jd}b I        . Among      other duties, I am currently the assigned handler of

     narcotics detection canine "Cairo" which is trained and ceriified in tile detection of the presence

     or odor of narcotics described as follows:

     marijuana, cocaine, methamphetamine and heroin

                      ,,-i,- . . i.,o-z,,Z,                 , at the request of Postal Inspector K.
   l»v~o. v~ Q\hlt _\jij
     On           \                                                                                    O'Neill, I responded to


                                                  I
                                                        l,~         OK   I   where "Cairo" did alert to and indicate upon :

    [describe item]

    'PMG (2s({?J1 ~l Vl(1~ us ~{)'x.-4 Jo (Y\~l5tm
      \1, C{J, (\,\µq>~ /)(v1 Vo ~6¥,Jl-- \l{?4V-fuch.L Ll\ 9U28



  Which, based upon my training and experience and that of "Cairo", indicates there is contained

  with in or upon the above described item, the presence or odor of a narcotic or other controlled




                                                             0
 substance.


              1,f/1         ,"!£              /        !.    ---=---'---


 -·
 (S ignat ·e and Date)                    ·
                                                      1/~-

C 1rn..:in,wli Field Office
IJ/J5 Cnn lrol /\vent1ij, S11ilr, 400
l'.i11cinnt1li, 0!1 4~202-5740
Telophorio. 077 -076-2~55
FAX: :,13-08~-8009
